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Case 2

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Watson eta

 

 

 

Metion te Proceed Comp laint

 

New Comes Plaintiff Shawn Lafellette # 469 256 informing
this Honoyable Comp thay T want to Confimue 45 4 pa/ty to
this Case, EF have injuvics Consi 3/4nt with claims in the
Complaint

Eyidence of Sithilay Complaints by mé wore Sub mired
AS Ev;dence with the ovigina) Filing of This case,
Please move this case Feywavd with me 45 4 Plan He.

 

 

 

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Shawn LaFollefte

 

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